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BEFORE THE JUDICIAL PANEL
ON MAY 25 1976
MULTIDISTRICT LITIGATION  ParTpic),
LW. HOY
CLERK OF Tig Pane
IN RE FOLDING CARTON ) DOCKET No. 250

ANTITRUST LITIGATION )

OPINION AND ORDER

 

BEFORE JOHN MINOR WISDOM, CHAIRMAN, AND EDWARD WEINFELD,
EDWIN A. ROBSON, WILLIAM H. BECKER *, JOSEPH S. LORD, III *,
STANLEY A. WEIGEL, AND ANDREW A. CAFFREY *, JUDGES OF

THE PANEL

 

PER CURIAM

This litigation was spawned by the indictment
of 22 corporations and approximately 50 of their officers
and employees for conspiring to fix prices of paperboard
folding cartons. The indictment and a companion Government
civil enforcement action, naming only the 22 corporations
as defendants, were filed on February 18, 1976 in the North-
ern District of Illinois.

Shortly thereafter, 23 private actions were filed
in six federal districts: fourteen in the Northern District
of Illinois, three in the Southern District of New York,
two each in the Eastern District of Pennsylvania and the
District of Minnesota, and one each in the Southern District

of Texas and the Northern District of California.

 

* Judges Becker, Lord and Caffrey were unable
to attend the Panel hearing and, therefore,
did not participate in the consideration or
decision of this matter.
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With one exception, each of the private actions
was filed as a purported class action on behalf of various
purchasers of folding cartons. While there are many varia-
tions in the descriptions of the classes that plaintiffs
seek to represent, most are nationwide classes of all or
some group of folding carton purchasers. The 22 corporate
defendants named in the Government actions are named as
defendants in all or most of the private actions. No other
defendants are involved.

The complaints in the private actions track the
Government's allegations and basically allege that since
at least as early as 1960 the defendants and various named @
and unnamed co-conspirators have conspired, in violation of
Section 1 of the Sherman Act, to fix, raise, maintain and
stabilize the prices of folding cartons. Two of the private
actions also include allegations of attempted monopolization
under Section 2 of the Sherman Act.

This litigation is before the Panel on the motion
of thirteen defendants for transfer of 22 of the private
actions to the Northern District of Illinois for coordinated
or consolidated pretrial proceedings pursuant to 28 U.S.C.

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§1407. All responding parties, except Accurate Metal Weather-

 

U/ The remaining private action, Adams Extract Company,
Inc., etc. v. Alton Box Board Company, et al., N.D.
Ill., Civil Action No. 76C1535, was filed on the day
of the Panel hearing. Prior to the hearing, the plaintif£
in this action submitted a response to the Panel support-@
ing the motion and, since all the defendants in this actioh
are already before the Panel, it is included in the order
we are herewith entering under Section 1407.
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strip Co., Inc., plaintiff in one of the New York actions,
agree on the propriety of transfer to the Northern District of
Illinois, although defendant International Paper Co. requests
that transfer be for the limited purpose of resolving the
class action issue.

We find that the private actions involve common
questions of fact and that their transfer under Section 1407
to the Northern District of Illinois will best serve the
convenience of the parties and witnesses and promote the
just and efficient conduct of the litigation.

The sole opponent to transfer does not contest
the realities that its purported class action shares
common questions of fact with the other private actions
and is among those that presents the possibility of con-
flicting class determinations. Nevertheless, plaintiff
opposes transfer because it fears that Section 1407 pro-
ceedings will delay its action.

This argument is without merit. As is often the
case in multidistrict antitrust litigation, the private
actions raise common factual issues that necessitate transfer
in order to prevent duplication of discovery and streamline
the rest of the pretrial proceedings as well. See, e.g.,

In re Plywood Antitrust Litigation, 376 F. Supp. 1405

 
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(J.P.M.L. 1974). An especially important factor requiring
Section 1407 treatment is the need for centralization and
consistency concerning the class action issues. See In re

Sugar Industry Antitrust Litigation, 395 F. Supp. 1271, 1273

 

(J.P.M.L. 1975). And, of course, the extent of coordinated
or consolidated pretrial proceedings is a matterslely within

the discretion of the transferee judge. In re Equity Fund-

 

ing Corporation of America Securities Litigation, 375 F. Supp.

 

1378, 1384 (J.P.M.L. 1974).
The Northern District of Illinois is clearly
the most appropriate transferee forum for this litigation.
Fourteen of the 23 private actions before us are already @
pending there. Transfer to that district will best facili-
tate the coordination that will no doubt be necessary between
the private actions and the seminal Government criminal
and civil actions which are pending in Illinois. See In re
Sugar Industry Antitrust Litigation, 395 F. Supp. 1271,

1274 (J.P.M.L. 1975); In re Toilet Seat Antitrust Litigation,

 

387 F. Supp. 1342, 1344 (J.P.M.L. 1975); In re West Coast
Bakery Flour Antitrust Litigation, 368 F. Supp. 808, 809
(J.P.M.L. 1974). And the same is true concerning the
probable need of the parties for coordination with the
Government concerning the grand jury documents that led
to the indictment. Id. Moreover, Chicago's central

location is another reason commending transfer to the @
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Northern District of Illinois inasmuch as the present
litigation is nationwide. See In re Government Auto Fleet
Sales Antitrust Litigation, 328 F. Supp. 218, 220
(J.P.M.L. 1971).

IT IS THEREFORE ORDERED that the actions listed
on the following Schedule A and pending in districts other
than the Northern District of Illinois be, and the same
hereby are, transferred to that district and, with the
consent of that court, assigned to the Honorable Hubert
L. Will for coordinated or consolidated pretrial proceed-
ings pursuant to 28 U.S.C. §1407 with the actions listed

on Schedule A and pending there.
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SCHEDULE A
NORTHERN ‘DISTRICT OF ILLINOIS

Adams Extract Company, Inc., etc. v.
Alton Box Board Company, et al.

Thompson International, Inc. v.
Alton Box Board Co., et al.

Castcraft Industries, Inc., etc. v.
Alton Box Board Co., et al.

Service Bindery Co., Inc. v. Alton
Box Board Co., et al.

Charming Shoppes of Delaware, Inc.,
et al. v. Alton Box Board Co., et al.

Old World Baking Co. v. American Can
Co., et al.

Hillman's Inc., etc. v. Alton Box
Board Co., et al.

G. Heileman Brewing Co., Inc. v.
Alton Box Board Co., et al.

Grist Mill Co., etc. v. Alton Box
Board Co., et al.

Bodines, Inc., etc. v. St. Regis
Paper Co., et al.

Corey Brothers Bakery, etc. v.
Alton Box Board Co., et al.

Community Shops, Inc., et al. v.
Alton Box Board Co., et al.

Bear Stewart Corp., etc. v.
Alton Box Board Co., et al.

Florida Fruit Juices, Inc., etc. v.
Alton Box Board Co., et al.

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Civil Action
No. 76C1535

Civil Action
No. 76C934

Civil Action
No. 76C983

Civil Action
No. 76C1019

Civil Action
No. 76C1026

Civil Action
No. 76C1062

Civil Action
No. 76C624

Civil Action
No. 76C644

Civil Action
No. 76C649

Civil Action
No. 76C656

Civil Action
No. 76C683

Civil Action
No. 76C820

Civil Action
No. 76C863

Civil Action
No. 76C878
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SCHEDULE A

SOUTHERN DISTRICT OF NEW YORK

Dothan Manufacturing Co. v.
Alton Box Board Co., et al.

Accurate Metal Weatherstrip Co.,
Inc. v. Alton Box Board Co., et al.

Sero Shirt Co., et al. v. Alton
Box Board Co., et al.

EASTERN DISTRICT OF PENNSYLVANIA

Queen Cutlery Co., etc. v. Alton
Box Board Co., et al.

Bond Baking Co. v. Alton Box Board
Co., et al.

DISTRICT OF MINNESOTA

Blue Waters Investment Co. v.
Alton Box Board Co., et al.

Surrey, Inc. v. Alton Box Board
Co., et al.

SOUTHERN DISTRICT OF TEXAS

Page Boy, Inc. v. Alton Box Board
Co., et al.

NORTHERN DISTRICT OF CALIFORNIA

 

Falstaff Brewing Corp., etc. v.
Alton Box Board Co., et al.

DOCKET NO. 250

Civil Action

No. 76 Civ 969

Civil Action

No. 76 Civ 882

Civil Action

No. 76 Civ 1325

Civil Action .

No. 76-656

Civil Action
No. 76C 752

Civil Action

No. Civ-4-76-117

Civil Action

No. Civ-4-76-118

Civil Action
No. 76-H-304

Civil Action

No. C76-372-RHS
 

  

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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT BETTGHTION 105
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In re Folding Carton Antitrust Litigation

   

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Order Denying Oral Argument

The Panel previously transferred all actions in this
litigation to the Northern District of Illinois and, with
the consent of that court, assigned them to the Honorable
Hubert L. Will for coordinated or consolidated pretrial
proceedings pursuant to 28 U.S.C. §1407. In re Folding
Carton Antitrust Litigation, 415 F. Supp. 384 (J.P.M.L.
1976). On October 6, 1976, the Panel entered the following
order:

It is hereby ordered that all previous
orders of the Panel transferring actions in this
litigation to the Northern District of Illinois
for coordinated or consolidated pretrial pro-
‘ceedings pursuant to 28 U.S.C. §1407 be amended
to assign these actions to Judge Edwin A. Robson

_along with the previously-assigned Judge Hubert L.
Will. Each transferee judge shall have total
jurisdiction over the coordinated or consolidated
pretrial proceedings in this litigation and each
judge may act individually and/or jointly with
respect to those proceedings.

On December 27, 1976, F.N. Burt Company, one of the
defendants in this litigation, moved the Panel for an order
designating Judge Robson as a judge for settlement purposes
only. On January 11, 1977, four other defendants joined
in this motion. F.N. Burt Company has requested that it
be granted an opportunity to present oral argument in
support of its motion.

The Panel having fully considered F.N. Burt Company's
request for oral argument on this matter,

IT IS ORDERED that the request for oral argument be,
and the same hereby is, DENIED. See Rule 13(b), R.P.J.P.
M.L., 65 F.R.D. 253, 263 (1975). Once all briefs have
been filed, this matter shall be deemed submitted and
shall be considered and determined upon the basis of the
papers filed. Id.

FOR THE PANEL:

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John Minor Wisdom
Chairman

 

  
 
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IN RE FOLDING CARTON ANTITRUST LITIGATION

 

ORDER*

It appearing that five defendants in the above-captioned
litigation have either moved or joined in a moticn for the
Panel to enter an order designating the Honorable Edwin A.
Robson as a transferee judge for settlement purposes only,
and the Panel having fully considered this motion on the
basis of the papers tiled” ,

IT IS ORDERED that defendants' motion be, and the same
hereby is, DENIED.

FOR THE PANEL:

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John Minor Wisdom
Chairman

 

 

* Judges Edwin A. Robson and Roy W. Harper recused themselves
and took no part in the consideration or decision of this matter.
In addition, Judge Joseph S. Lord, III took no part in the
consideration or decision of this matter.

1/ The Panel denied a request for oral argument on this motion

on February 3, 1977.
